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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


CITRIX SYSTEMS, INC.,
                                                          C.A. No. 1:18-cv-00588-GMS
                                  Plaintiff,

              v.
                                                          JURY TRIAL DEMANDED

WORKSPOT, INC.

                                  Defendant.


                                      JOINT STATUS REPORT


         Pursuant to Rule 16, F.R.C.P. 16, D. Del. LR 16.2, and the Court’s Order re: Case

Management in Civil Cases dated June 12, 2018, Plaintiff Citrix Systems, Inc. (“Citrix”), and

Defendant Workspot, Inc. (“Workspot”) (collectively, the “Parties”), by and through their

undersigned counsel, jointly submit this Joint Status Report. Counsel for the Parties participated

in a telephone conference pursuant to the Notice of Scheduling Conference and as required by

the Fed. R. Civ. P. 26(f) on June 10, 2018. DLA Piper LLP (US) participated on behalf of Citrix,

and Gibson Dunn & Crutcher LLP and Potter Anderson & Corroon LLP participated on behalf

of Workspot.


         1.         Jurisdiction and Service:

       The Parties agree that (1) the Court has subject matter jurisdiction over this action, (2) for

purposes of this action only the Court has personal jurisdiction over the Parties to the action, and

(3) for purposes of this action only venue is proper in this Court. All Parties have been served.




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         2.        Substance of the Action:

         Citrix alleges that Workspot infringes U.S. Patent No. 7,949,677; U.S. Patent No.

8,341,732; U.S. Patent No. 7,594,018; and U.S. Patent No. 8,135,843 (collectively referred to as

the “Patents-in-Suit”) by making, offering to sell, or selling in this District and elsewhere in the

United States Workspot’s accused products, which include Workspot Cloud Apps, Cloud

Desktops, and Cloud Workstations (collectively, the “Accused Products”). Citrix alleges that

Workspot’s infringement of the Patents-in-Suit has been and continues to be willful and

deliberate. Citrix also alleges that Workspot has engaged in false and misleading advertising,

deceptive trade practices, and unfair competition by making false and misleading statements

about Citrix’s on-prem products and services such as XenApp, XenDesktop, XenMobile,

NetScaler, and Citrix Receiver, and cloud-based products and services, such as ShareFile and

Citrix Cloud and its attendant services (“Citrix’s Products and Services”) and the Accused

Products.

         As described below, ¶ 5, Citrix seeks both preliminary (D.I. 8) and permanent injunctive

relief to prohibit Workspot from continuing to infringe, unfairly competing, engaging in

deceptive trade practices, making false or misleading advertising with respect to Citrix’s

Products and Services and disparaging Citrix’s Products and Services. Citrix also seeks all

damages, including enhanced or treble damages, interest, and costs to which Citrix is entitled by

law.

         Workspot denies that it infringes any claim of any of the Patents-in-Suit, literally or

under the doctrine of equivalents and alleges that the claims of the Patents-in-Suit are invalid

and/or unenforceable. Workspot also denies that it has engaged in any false or misleading

advertising, deceptive trade practices, or unfair competition. Additionally, Workspot contends

that Citrix is not entitled to damages or any injunctive relief.

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         3.        Identification of Issues:

         The Parties anticipate disputes regarding the following issues:

         •         Whether Workspot infringes the Patents-in-Suit;
         •         Whether the Patents-in-Suit are valid and/or enforceable;
         •         If Workspot is found to infringe any valid claim of the Patents-in-Suit, whether
                   such infringement is willful and deliberate;
         •         If Workspot is found to infringe any valid claim of the Patents-in-Suit, the amount
                   of monetary damages to which Citrix is entitled for such infringement;
         •         Whether Citrix is entitled to preliminary or permanent injunctive relief on any of
         its claims;
         •         Whether Citrix is entitled to a declaration that this is an exceptional case, and
                   whether Citrix is entitled to its reasonable attorneys’ fees, under 35 U.S.C. § 285;
         •         Whether Workspot’s statements concerning its products and Citrix’s products
                   constitute false advertising in violation of § 43(a) of the Lanham Act, 15 U.S.C. §
                   1125(a);
         •         Whether Workspot’s statements concerning its products and Citrix’s products
                   constitute deceptive trade practices in violation of the Delaware Deceptive Trade
                   Practices Act, 6 Del. C. § 2531, et seq.;
         •         Whether Workspot’s statements concerning its products and Citrix’s products
                   constitute common law unfair competition; and
         •         If Workspot’s statements are found to constitute false advertising, deceptive trade
                   practices, or unfair competition, the amount of monetary damages to which Citrix
                   is entitled for such false advertising, deceptive trade practices or unfair
                   competition.

         4.        Narrowing of Issues:

         Resolution of Citrix’s pending motion for preliminary injunction may assist with

narrowing certain issues early in the case. Otherwise, the Parties are unaware of any issues that

can be narrowed by agreement or by motion at this stage in the proceedings. As discovery



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progresses, the Parties may identify other issues in this litigation that may be narrowed by

agreement, stipulation, or motion.

         5.        Relief:

         Citrix respectfully requests the Court enter judgment in favor of Citrix awarding

injunctive relief, monetary damages, attorneys’ fees, interest, and such other relief that this Court

deems just and equitable. Specifically, Citrix requests that the Court enter judgment:

                   1.        In favor of Citrix and against Workspot on all of Citrix’s claims;
                   2.        Enjoining and restraining Workspot, its officers, directors, agents,
                             servants, employees, attorneys, and all others in active concert or
                             participation with Workspot, during the pendency of this action and
                             thereafter permanently from:
                             A. Unfairly competing with Citrix in any manner whatsoever;
                             B. Engaging in any deceptive trade practice with respect to Citrix or
                                Citrix’s products and services in any manner whatsoever;
                             C. Engaging in any false or misleading advertising with respect to Citrix,
                                Citrix’s Products and Services and any related goods or services in any
                                manner whatsoever; and
                             D. Disparaging Citrix’s products and services in any manner whatsoever;
                   3.        Requiring Workspot to deliver up, or cause to be delivered up, for
                             destruction all advertisements, marketing material, and all other materials
                             in the possession or control of Workspot that contain any false or
                             misleading statements of fact about its Accused Products and any related
                             goods or services, Citrix, and Citrix’s Products and Services;
                   4.        Requiring Workspot to perform corrective advertising to correct the false
                             and misleading statements of Workspot about its Accused Products and
                             any related goods or services, Citrix, and Citrix’s Products and Services;
                   5.        Requiring Workspot to pay over to Citrix the amount of Citrix’s costs of
                             corrective advertising to correct the false and misleading statements of




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                         Workspot about its Accused Products and any related goods or services,
                         Citrix, and Citrix’s Products and Services;
                   6.    Requiring Workspot to account for and pay over to Citrix the amount of
                         Citrix’s damages pursuant to 15 U.S.C. § 1117 and Delaware law;
                   7.    Requiring Workspot to account for and pay over to Citrix the amount of
                         Workspot’s profits pursuant to 15 U.S.C. § 1117 and Delaware law;
                   8.    Requiring Workspot to account for and pay over to Citrix the costs of the
                         action pursuant to 15 U.S.C. § 1117 and Delaware law;
                   9.    Trebling any damage award pursuant to 15 U.S.C. § 1117 and Delaware
                         law;
                   10.   Finding this case exceptional and requiring Workspot to pay over to Citrix
                         its attorneys’ fees incurred in connection with this case pursuant to 15
                         U.S.C. § 1117 and Delaware law;
                   11.   Finding that Workspot intentionally or recklessly engaged in unfair
                         competition under Delaware law and requiring Workspot to pay over to
                         Citrix punitive damages;
                   12.   Declaring that Workspot has infringed and is infringing the claims of the
                         Patents-in-Suit;
                   13.   Compensating Citrix for all damages caused by Workspot’s infringement
                         of the Patents-in-Suit;
                   14.   Enhancing Citrix’s damages up to three times their amount under
                         35 U.S.C. § 284;
                   15.   Granting Citrix pre- and post-judgment interests, together with all costs
                         and expenses;
                   16.   Granting Citrix its reasonable attorneys’ fees under 35 U.S.C. § 285;
                   17.   Granting a preliminary and permanent injunction enjoining and restraining
                         Workspot and its officers, directors, agents, servants, employees,
                         attorneys, and all others in active concert or participation with Workspot,
                         from making, using, offering to sell, selling, and importing into the United
                         States any product, or using, offering to sell, or selling any service, that
                         fall within the scope of any claim of the Patents-in-Suit;


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                    18.      Entering a judgment that Workspot’s infringement of the Patents-in-Suit
                             has been willful; and
                    19.      Awarding Citrix such other relief in its favor as the Court may deem just
                             and equitable.
         Workspot denies that Citrix is entitled to any of the relief enumerated above.

         6.         Amendment of Pleadings:

         Neither party has filed an amendment to its respective pleading. The Parties propose that

the deadline for amendments to the pleadings be March 1, 2019.

         7.         Joinder of Parties:

         The Parties propose that the deadline for joinder of parties be March 1, 2019.

         8.         Discovery:

         The Parties stipulated to, and the Court entered, a schedule in this matter with respect to

Citrix’s Motion for Preliminary Injunction (the “Motion”). D.I. 26. Accordingly, the Parties

have engaged in certain discovery through Interrogatories and Requests for Production, and the

Parties anticipate they will conduct some depositions pursuant to that schedule. The Parties

agree they will require additional discovery beyond the discovery served and to-be-served while

Citrix’s Motion is pending. The Parties also agree that discovery unrelated to the Preliminary

Injunction will not commence until after briefing on Citrix’s Motion for Preliminary Injunction

is completed.

         The       Parties   respectfully     request   that   the   Court   enter   the   schedule   filed

contemporaneously with this Joint Status Report and set forth in the chart below. Under the

proposed schedule, the Parties agree that in addition to, and separate and apart from, the

discovery permitted under the Motion, the Parties will be permitted to propound 15 written

interrogatories, 30 requests for admission, and 50 requests for production, and take 70 hours of



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fact and Rule 30(b)(6) depositions.1 The Parties agree that these limits may be modified by

agreement of the Parties or with leave of Court for good cause shown,

          The Parties further agree that documents created on or after the date of the Complaint in

this action, or in anticipation of filing the Complaint, need not be logged on a privilege log.

          The Parties intend to seek discovery primarily related to, inter alia, the issues indicated in

¶ 3, above, including discovery related to Citrix’s claims and Workspot’s defenses.

           9.      Event           Citrix            Workspot                Joint Proposal
                                  Proposal           Proposal
Rule 26(a)(1) and Paragraph                                             Within ten (10) days of the
3 Initial Disclosures                                                   Court entering a
                                                                        Scheduling Order
File Protective Order                                                   Filed June 15, 2018
Identification of accused                                               October 12, 2018
products and
asserted patents, and
production of file
histories of asserted patents
by claimant
Production of core technical                                            November 9, 2018
documents by
accused infringer
Production of initial                                                   November 14, 2018
infringement charts by
claimant
Production of initial                                                   December 10, 2018
invalidity contentions
by accused infringer
Last day for accused                                                    March 1, 2019
infringer to inform other
parties whether it intends to
rely upon advice of counsel
as a defense to willful
infringement
Last day for accused                                                    March 8, 2019
infringer to produce any
opinions of counsel on
which it intends to

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    The deposition hours do not include depositions of third parties or expert witnesses.

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rely on as a defense to
willful infringement
Exchange of claim terms for                                     January 25, 2019
construction
Last day to file any motion                                     March 1, 2019
to join other
parties or amendment of
pleadings
Exchange of proposed claim                                      February 8, 2019
constructions
Last day to file final joint                                    February 22, 2019
claim chart
Substantial completion of                                       March 29, 2019
document
Production
Last day to file opening                                        March 6, 2019
claim construction
briefs
Last day to file answering                                      April 3, 2019
claim
construction briefs and the
Joint Appendix
of Intrinsic Evidence
Claim construction hearing                                      April 24, 2019, or as soon
                                                                thereafter as is convenient
                                                                for the Court
Close of Fact Discovery         July 24, 2019   30 days after
                                                Markman
                                                Ruling (“MR”)
Final Infringement              July 24, 2019   MR + 45 days
Contentions
Final Invalidity Contentions    August 7, 2019 MR + 60 days
Last day to serve opening       September 25,   MR + 90 days
expert reports                  2019
Last day to serve rebuttal      October 25,     MR + 135 days
expert reports                  2019
Close of expert discovery       November 15,    MR + 165 days
                                2019
Last day to file opening        November 22,    MR + 180 days
letter briefs                   2019
seeking summary judgment
Last day to file answering      December 11,    MR + 195 days
letter briefs regarding         2019
summary judgment
Last day to file reply letter   December 20,    MR + 205 days


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briefs regarding                  2019
summary judgment
Pretrial Order                                                           Two weeks prior to the
                                                                         pretrial conference
Pretrial                                                                 March 2020
Conference
Trial                                                                    April 2020, or as soon
                                                                         thereafter as is convenient
                                                                         for the Court


         10.       Estimated trial length:

         At this time, the Parties estimate that a trial in this case would require ten days. The

estimated length of trial depends on narrowing of issues. At this time, the Parties are not aware

of any issues that can be resolved or limited to reduce the length of trial at this time, but the

Parties agree to discuss any mechanisms that may be utilized to narrow the issues and expedite

the trial as discovery progresses and issues are narrowed.              The Parties do not anticipate

bifurcation of any issues for trial.

         11.       Jury trial:

         The Parties demand a trial by jury on all issues so triable.

         12.       Settlement:

         The Parties have not engaged in formal settlement discussions to date. While the Parties

are willing to explore ADR options with a Magistrate Judge, the Parties do not anticipate ADR to

be fruitful at this stage of the case.

         13.       Other:

         The Parties are not aware at this time of any other matters, beyond those discussed

herein, conducive to the just, speedy, and inexpensive determination of this action.

         14.       Meet and Confer:




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         On July 10, 2018, lead and Delaware counsel for the Parties met and conferred about

each of the above matters in an effort to eliminate any disputes.

         No continuance of the conference will be granted except by Order of the court upon

application by counsel made seven (7) days before the date of the conference supported by a

declaration stating the reasons for the request.




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Respectfully submitted,                         Dated: July 12, 2018

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